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                        Exhibit 8
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 Memorandum
  STRICTLY CONFIDENTIAL NOT FOR CIRCULATION




Date | time 1/17/2023 9:00 AM | Location or Status Information

Action called by           Schad Brannon                    Provided to:
Type of memo               Informational                    Jason & Jake Anderson
Authorized Persons for     Bryan Schaffner
communication:
                           Roy Nelson



Information Items

RE: Fleet Space Contract
       Fleet Space has requested they cancel our contract.
       I have agreed. We will receive a full refund, $124,500.
       The full $747,000 contract value and RFEG obligation no longer applies.




I/we have found a suitable replacement.
Below is a picture of the new provider’s “Geode” or “Node” as they call it. This is the same technology basis “ANT”
Ambient Noise Tomography, which provides passive seismic subsurface imaging and monitoring capabilities.


Special Notes:


                         The results are subsurface physical properties based on seismic velocities: p-wave (Vp),
                         shear wave (Vs), Poisson's ratio (Vp/Vs), anisotropy (a predictor of fracture orientation),
                         and a microseismicity catalog (not a seismic velocity but a useful byproduct). We offer
                         many types of passive surveys such as ambient noise tomography (ANT), local
                         earthquake tomography (LET), HVSR mapping, and other less common methods. An ANT
                         survey is by far our most used service. ANT is an environmentally friendly, low cost survey
                         which results in a 3D shear wave velocity model of the subsurface where velocity serve as
                         a proxy for structure. This data is used by mining exploration companies along with other
                         geological and geophysical data to plan an efficient core drilling program and for use later
                         in mine development.




                                                    ### END ###



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